           Case 8-24-71468-las      Doc 8     Filed 04/22/24     Entered 04/22/24 16:44:08




                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF NEW YORK
                                     CENTRAL ISLIP
  IN RE:
  Benjamin O Ringel,                                   CASE NO.:       8-24-71468-las
                                                       CHAPTER:        7
                                                       JUDGE:          Louis A Scarcella
                   Debtor(s).                    /
                                    NOTICE OF APPEARANCE
        PLEASE TAKE NOTICE that in accordance with Fed. R. Bankr. P. 2002 and 9010(b), the
undersigned enters an appearance in this case on behalf of Santander Bank ,N.A.. Request is made that
all notices given or required to be given in this action and all related actions, be given and served upon
the following:
                                              Gregory Sanda
                                      McMichael Taylor Gray, LLC
                                    3550 Engineering Drive, Suite 260
                                      Peachtree Corners, GA 30092
                                          gsanda@mtglaw.com
        PLEASE TAKE FURTHER NOTICE that the foregoing demand includes, but is not limited to,
Orders and Notices of any Application, Motion, Petition, Adversary Complaints, Objections, Requests,
any amendments to the Schedules or Statement of Financial Affairs, all pleadings, all creditors committee
notices, demands, and all other notices as required by the United States Bankruptcy Code and Rules
and/or the Local Rules of the above-referenced court, whether such papers be formal or informal, whether
written or oral, and whether transmitted or conveyed by mail, delivery, telephone, telegraph, telex,
facsimile, or otherwise.
        PLEASE TAKE FURTHER NOTICE that the foregoing request includes the above attorney's
request to be added to the master mailing list and the ECF/Pacer electronic notice list for the above-
referenced case.
        This notice of appearance does not constitute consent to acceptance of service of process of any
subpoena, summons, or other process subject to service pursuant to Bankruptcy Rules 7004 or 9016.
Dated: April 22, 2024
                                                     Respectfully submitted,
                                                     By: /s/ Gregory Sanda
                                                     Gregory Sanda, NYBN 4446340
                                                     MCMICHAEL TAYLOR GRAY, LLC
                                                     Attorney for Creditor
                                                     3550 Engineering Drive, Suite 260
                                                     Peachtree Corners, GA 30092
                                                     Telephone: 404-474-7149
                                                     Facsimile: 404-745-8121
                                                     E-mail: gsanda@mtglaw.com
                                                     MTG File No.: 22-002706-04
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                                   CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing in the above captioned case
was this day served upon the below named persons by either United States Mail or Electronic Mail at the
addresses shown below:

Via U.S. Mail
Benjamin O Ringel
90 Merrall Drive
Lawrence, NY 11559


Via CM/ECF electronic service:
Thomas J Frank
The Frank Law Firm P.C.
333 Glen Head Road
Suite 145
Old Brookville, NY 11545

Allan B. Mendelsohn
Allan B. Mendelsohn, LLP
38 New Street
Huntington, NY 11743

Dated: April 22, 2024

                                                    Respectfully submitted,
                                                    By: /s/ Gregory Sanda
                                                    Gregory Sanda, NYBN 4446340
                                                    MCMICHAEL TAYLOR GRAY, LLC
                                                    Attorney for Creditor
                                                    3550 Engineering Drive, Suite 260
                                                    Peachtree Corners, GA 30092
                                                    Telephone: 404-474-7149
                                                    Facsimile: 404-745-8121
                                                    E-mail: gsanda@mtglaw.com
                                                    MTG File No.: 22-002706-04
